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 1
                                                                                        The Honorable Benjamin H. Settle
 2

 3                                      UNITED STATES DISTRICT COURT
                                       WESTERN DISTRICT OF WASHINGTON
 4                                               AT TACOMA
 5
         COMMANDER EMILY SHILLING; et al.,
                                                                             No. 2:25-cv-00241 BHS
 6
                                  Plaintiffs,
                                                                             DECLARATION OF SIERRA
 7                                                                           MORAN IN SUPPORT OF
                        v.
                                                                             PLAINTIFFS’ MOTION FOR
 8                                                                           PRELIMINARY INJUNCTION
         DONALD J. TRUMP, in his official capacity as
 9       President of the United States; et al.,
10                                Defendants.
11

12

13
                                           I, Sierra Moran, hereby declare as follows:
14
               1.       My name is Sierra Moran. I am a plaintiff in the above-captioned action. I have
15
     actual knowledge of the matters stated in this declaration.
16
               2.       I am a 31-year-old transgender woman, and I live in Tacoma, Washington.
17
               3.       I am a member of the Gender Justice League.
18
               4.       I am Sergeant First Class in the United States Army and am currently stationed at
19
     Joint Base Lewis McChord.
20
               5.       I enlisted in the U.S. Army in 2015. I have been serving for almost 10 years.
21
               6.       I chose the Army as a career path because I wanted to serve my country and
22
     provide for my family. The Army gave us the opportunity to access necessary healthcare for my
23
     wife, pay for my daughter’s education, and allowed me to give back to the country I love.
24
               7.       My military occupational specialty (MOS) is 25S, which is a Satellite
25
     Communications Systems Operator and Maintainer.
26
               8.       I currently serve as the Non-commissioned Officer-in-Charge (NCOIC) for my
27
     Battalion’s S3 section, where I manage and plan the Battalion’s operations and training. In this
28
     DECLARATION OF SIERRA MORAN              Perkins Coie LLP
                                                                        Lambda Legal Defense and         Human Rights Campaign
     ISO PLAINTIFF’S MOTION FOR                                            Education Fund, Inc.                Foundation
                                       1201 Third Avenue, Suite 4900
     PRELIMINARY INJUNCTION - [2:25-                                     120 Wall Street, 19th Floor   1640 Rhode Island Avenue NW
                                       Seattle, Washington 98101-3099
     CV-241-BHS]                                                        New York, NY. 10005-3919          Washington, D.C. 20036
                                              TEL: 206.359.8000
                                                                            TEL: 212-809-8585              TEL: (202) 568-5762
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 1   capacity, I help run a Battalion of over 450 soldiers.

 2             9.       My most recent prior role was as a Crew Chief in the Korea Department of

 3   Defense Information Networks Operations Center (KDOC), where I monitored all U.S. military

 4   networks for the entire Korean peninsula. Before that, I was an Advisor with the 5th Security

 5   Forces Assistance Brigade (SFAB), where I helped advise, support, liaise, and support foreign

 6   military partners in the Indo-Pacific Area of Responsibility (AOR).

 7             10.      After my current assignment, I am slated to take over as a Platoon Sergeant in an

 8   experimental unit tasked with testing the Army’s next generation of communications and

 9   intelligence, surveillance, and reconnaissance (ISR) equipment.

10             11.      In my nearly ten years of service, I have earned: three Army Commendation

11   Medals (ARCOM), three Army Good Conduct Medals (AGCM), and two Army Achievement

12   Medals (AAM), one of which was in support of a joint air defense artillery mission in Korea.

13             12.      I am transgender. I have known for years, even before my transition. I came out to

14   my wife in 2019, and then to my peers and leadership in 2020.

15             13.      Since 2021, when policies changed to allow open service of transgender service

16   members, I have taken legal and administrative steps to transition, including changing my legal

17   name and having my gender marker changed to female in DEERS. For all things military and

18   personal, I am a woman.

19             14.      At the time I came out in the Army as transgender, my Company Commander was

20   extremely supportive. I would have been lost in a sea of red tape if not for her guiding me

21   through the process of getting my records updated and my medical care plan situated.

22             15.      Being transgender, to me, is no more an indicator of my ability to do my job and

23   fight and win our nation’s wars than the color of my skin, my personal faith, or which hockey

24   team I support. Not once since coming out has being transgender prevented me from honorably

25   performing my duties as a senior Non-commissioned Officer. Not once has it caused any

26   personal friction between my peers and me. Not once has it gotten in the way of me leading my

27   Soldiers. Not once has it negatively affected the overall mission.

28             16.      I had recently applied for Officer Candidate School (OCS) in order to become a
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 1   Commissioned Officer but was informed by Army Human Resources Command on March 18,

 2   2025, that my application was returned without action (in effect, a denial), due to the Office of

 3   the Under Secretary of Defense policy dated February 26, 2025. A true and correct redacted copy

 4   of the March 18, 2025 email I received with the subject “OCS Application Return Without

 5   Action” is attached hereto as Exhibit A.

 6             17.      This denial for OCS felt like a punch in the gut. I have always wanted to be a

 7   commissioned officer. The notice made me feel that I was being judged not based on merit but

 8   rather solely on the fact that I am transgender.

 9             18.      Not being able to attend OCS limits my career opportunities and my future pay, as

10   officers generally make more than their enlisted counterparts.

11             19.      In addition, the Ban has arbitrarily classified me as non-deployable, which has

12   blocked me from fulfilling my role as a key leader in an upcoming mission overseas.

13             20.      Since the Executive Order banning my service was released, my family and I have

14   felt constant fear, confusion and anger. Fear at the uncertainty of whether I would be allowed to

15   continue serving. Confusion at the allegations made in the policy. Anger at the loss of my career

16   and all I have worked for over the last ten years.

17             21.      I have engaged in speech and conduct disclosing my transgender status and

18   expressing my gender identity, including by coming out to my chain of command and my fellow

19   service members, taking steps to transition, and living openly as a woman in military life. I want

20   to continue to be able engage in speech and conduct disclosing my transgender status and

21   expressing my gender identity.

22                      I declare under the penalty of perjury that the foregoing is true and correct.

23

24   DATED: March 19, 2025                                               ________________________________
                                                                         Sierra Moran
25

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28
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